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CLERK U.S. DIST BOURT
s i DISTRICT OF IOWA
(This form is intended to be used by persons who are not represented by an attorney. The form
should NOT be used by a prisoner who is filing a complaint under the Civil Rights Act, 42
U.S.C. section 1983. A separate form is obtainable for prisoners.)

 

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

Yuri Grankin

 

 

 

 

 

(Enter above the FULL name of each
plaintiff in this action)

VS. . COMPLAINT

Quad City Symphony Orchestra Association

 

 

 

 

(Enter above the FULL name of each
defendant in this action)
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Parties
(In item A below, place your name in the first blank and place your present address and
telephone number in the second blank. In the third blank write the state where your home is ©
(“Home State”). In item B below, do the same for additional plaintiffs, if any.)
A. Name of Plaintiff Yuri Grankin

Address & Telephone Number 1004 Siesta Ave, Boynton Beach FL 33426; (520)599-4304

Home State Florida

B. Additional Plaintiffs (include addresses, telephone numbers and home state for each) _

 

 

 

 

(In item C below, place the FULL name of the defendant in the first blank place, the address and
telephone number for the defendant in the second blank. In the third blank, write the state in -
which the defendant has his/her home. If the defendant is a corporation, list the location of its
home office, and the state where it is incorporated, if known. If the defendant is a government
agency, simply name it. In item D, do the same for additional defendants, if any.)
C. Name of defendant Quad City Symphony Orchestra Association

Address & Telephone Number 327 Brady St, Davenport IA 52801 _(563)322-0931-

Home State lowa

D. Additional Defendants (include addresses, telephone numbers and home state for each).

 

 

 

 

STATEMENT OF CLAIM
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(State here as briefly as possible the FACTS of your case. You MUST state EXACTLY what
each defendant personally did, or failed to do, which resulted in harm to you. State the date
AND place of all events. Attach an extra sheet if necessary, and write the heading “Part II

Continued” at the top of the sheet. Keep to the facts. Do not give any legal arguments or cite
any cases.)

Please see extra sheet attached

 

 

 

 

 

 

 

(If you know, BRIEFLY state what SPECIFIC law of constitutional provisions defendant(s)
violated.)

Title VII of the Civil Rights Act of 1964

lowa Code § 216 prohibiting unfair employment practices with respect to any

employee because of age, race, creed, color, sex, national origin or disability

lowa Code §659 prohibiting libel and slander

 

 

 

RELIEF

 
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(State briefly EXACTLY what you want the Court to do for you. Make no legal arguments.
Cite no cases or statutes.)

Please see extra sheet attached

 

 

 

 

 

Signature(s) of Plaintiff(s)

Signed this 2! day of Septem ber _2oLl

L— {_-| (520) 593 -430Y

(Siege of Plain | (Area Code)-Telephone Number

 

 

 

 

 

 

 

 
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STATEMENT OF CLAIM

Iwas terminated from Quad City Symphony Orchestra (QCSO) on July 6, 2020. The reason given by the management
(Brian Baxter, Executive Director and Marc Zyla, Personnel Manager) for my termination was “egregious just cause”
consisting of “racially disparaging remarks and content repeatedly shared” on my private Facebook page, based on an
“anonymous” complaint of a junior employee. | was refused any other information at that time, including which specific

posts were found to be offensive, and simply discarded after 16 years of service to the orchestra.

The reason given for my termination was pretextual because the individual who complained about me, the Personnel
Manager, and many other organization members commonly share(d) similar or near-identical content on their pages

without consequence, yet | was singled out and subjected to the highest form of discipline — termination.

The reason was also false and defamatory because | never shared racially disparaging content. The posts that QCSO
management found to be “offensive” were simply statements of verifiable facts and mainstream conservative positions,
expressed mostly via memes (not my own words), many of them authored by black conservatives and people of color. In
. fact, my personal comments in my posts consistently argue for equal treatment of people regardless of immutable
characteristics (e.g. race), and nota single one of them targets any specific group; in contrast, many of the comments
made by other members of the organization (including those who complained about me) stereotype and disparage

entire population groups. Thus, | was fired not for sharing racially disparaging content, but rather for speaking out

against specific kinds of racially disparaging content promoted by the management.

My termination was discriminatory based on my national origin and creed, which is defined by, and inseparable from,
my national origin and personal background. Growing up in the 1980-90s Soviet Union, we lacked basic necessities and
constantly feared for our safety, watching our country collapse — a major cause for which was identity politics. | saw the
ugliness and hate created by extremist identarian groups, which turned people against each other and devastated the
lives of millions. | was forced to leave my home at age 16 in search of a better life in the West, and my family is now
scattered all over the world. Living through the destruction of my home country and its aftermath was extremely
traumatic and subjected me to significant hardship and discrimination, and as a result of that experience | am

vehemently opposed to identarian groups like BLM with their extremist agenda and violent means of achieving it. |
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spoke out against the same kinds of violence and race pandering that destroyed my home country and was terminated

as a result.

Asan immigrant whose native language is ‘not English, | inevitably express myself in ways (verbal and non-verbal) that
are different from native-born Americans. Eastern Europeans tend to be more conservative when it comes to social
issues, and the standard for “offensive” is very different for a Soviet immigrant than for an American millennial.
Management failed to take that into account and, instead, allowed their discriminatory animus to prevail in their
decision making. They also stood by as | was mocked by QCSO employees when | tried to tell my story as a stateless

person and was called a “Russian troll”.

An egregious failure on the part of QCSO management was trying to force an immigrant from a communist regime, who
was a stateless person for 30 years as a result of the mess created by communism, to embrace an organization that was
founded by self-proclaimed “trained Marxists”, espouses communist ideas and uses some of the same intimidation
tactics used by totalitarian regimes. Communism was responsible for gross human rights violations and killed mitlions in
Eastern Europe, including some of my distant relatives. It is a common trait for people from former communist countries
to.be wary of political ideas of the extreme Left, because they have lived in dystopian societies that tried these ideas.
This collective lived experience defines people from the former USSR, and it is part of their worldview, or creed. itis a
secular creed because those people grew up in societies without religion, but it is equivalent to religion and occupies the
same place in their lives. Conversely, deeply held beliefs (however unorthodox or irrational they may be) of the QCSO
members who were offended by my posts are not part of a traditional organized religion, but their intensity and
influence on the conduct of the members effectively make them a secular religion. In this case, QCSO is trying to force its
secular religion/ideology on an employee who has traumatic associations with it, forcing him to violate his conscience
and aggravating his PTSD, which constitutes harassment, while at the same time advertising that people of other creeds
are not welcome, which is discriminatory. Since my worldview/creed is a cultural characteristic of people from the

former. Soviet Union, persecuting me for it also constitutes national Origin discrimination.

QCSO claims that they had no knowledge of the trauma stemming from my marginalized status; that is demonstrably
false. In fact, it is possible that | was singled out precisely because they knew | was vulnerable and would likely not fight

back. Without contemplation or hesitation, they violently tore me away from the orchestra, which had become probably
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the closest thing to family | had in the United States. They also made me a persona non grata in the classical music

community in the area, depriving me of future possibility of making a living as a freelance musician. In addition, they
smeared me in my termination letter, thus ensuring that any time | apply for a job in the future | will have to indicate
that | was terminated because of “racially disparaging remarks”. | have worked very hard since coming to the United
States 25 years ago and overcame major hurdles, including surviving a deadly disease and resulting disability, to build a

life for myself in this country. QCSO management seems all but determined to destroy it.

| reserve the right to amend this complaint as new information becomes available.

RELIEF

in the aftermath of my termination, | wrote a letter to QCSO Board of Trustees, explaining my background and the
absurdity of management’s actions, and asked simply for reinstatement and recovery of costs. The Board rejected my
humble request and chose to leave the discriminatory firing along with the derogatory stated reason for it in place. This
“colorful” employment record is certain to severely limit my employment prospects in the future. The emotional cost of
this violent separation from my orchestra family and the QC community and being uprooted after 25 years of hard work
building a life alone in a foreign country is impossible to measure. Thus, | estimate an appropriate relief here to be
roughly $ 1,500,000, which would include lost future wages for the almost 30 years of my remaining career, the
emotional and physical damage this incident has caused to my already damaged health and well-being, as well as the
tremendous amount of energy and work | have put into trying to hold the management accountable for this

discriminatory incident, which has been more than a full-time job for me for over a year.

Respectfully,

Yuri Grankin

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